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  The Honorable Virginia Maria Hernandez Covington
  United States District Judge
  Middle District of Florida

  Dear Judge Covington,

  I am writing to express my sincerest remorse and take full responsibility for my actions. I want to
  make it clear that I deeply regret the choices I made and the harm that they caused. At the time,
  I did not fully understand the extent of the damage I was contributing to, but now I do and I am
  ashamed. I now understand how serious my actions were, and I am committed to living a life
  guided by honesty, responsibility, and respect for the law. This experience has changed me
  permanently.

  Since my arrest, I’ve spent a great deal of time reflecting on my actions, not just what I did, but
  what it says about the person I was at the time. I’ve come to understand how deeply misguided
  my thinking was, how I allowed myself to make choices that were selfish, reckless, and harmful.
  I used to believe that because no one was being directly hurt in front of me, it somehow made
  what I was doing less serious. But that was wrong. The truth is that my actions created real
  harm, even if I didn’t see it immediately. Harm to companies, systems, and the people who work
  hard every day within them. But beyond that, I hurt the people who trusted me: my profession,
  my family, and everyone who believed I was someone with integrity.

  Coming to terms with the gap between the person I thought I was and the person I became in
  those moments has been one of the most painful and humbling experiences of my life. I let
  myself down. I let my wife down. I let my profession down. That realization weighs on me every
  single day, and I carry it with me not as a burden but as a reminder of who I will never allow
  myself to be again.

  I have taken several meaningful steps toward rehabilitation and personal growth. I began
  therapy, which has helped me confront the underlying behaviors that led to my actions and
  given me tools to become a better and more self-aware person. I’ve matured significantly since
  that time, and I continue to work to become someone my family and community can be proud
  of.

  I also began volunteering at the Community Health Free Clinic. They are a nonprofit that
  provides essential medical care to vulnerable and underserved populations. Using my Doctorate
  in Pharmacy, I’ve assisted in medication counseling, prescription fulfillment, and collaboration
  with physicians to ensure patients receive the treatment they need. This work has not only been
  personally fulfilling but has reminded me of how I can use my education and skills to do good.

  After losing my job due to my arrest, I struggled for months to find employment. Through
  persistence and growth, I was recently hired at a small-town pharmacy. This role gives me the
  opportunity to once again serve the public, especially the elderly and patients in long-term care
  facilities. It also allows me to begin paying restitution and making amends for the harm I caused.
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  Many people depend on me. My wife, Kira, relies on me for both financial and emotional
  support. She is a VA employee who is currently going through an extremely difficult time, and I
  am her anchor. My father and brother live nearby and count on our weekly dinners to stay
  connected as a family. My friends, many of whom come to our home each week for support,
  dessert, and conversation rely on the space my wife and I provide to feel safe and heard. I
  never realized how much I mattered to so many people until all of this happened, and I do not
  take that responsibility lightly.

  My goals moving forward are simple: to make whole the people and institutions I harmed, and to
  dedicate myself to serving others through my work and education. I want to continue
  volunteering at the free clinic, remain employed at the pharmacy, and, when my obligations to
  the court have been fulfilled.

  I understand the seriousness of what I have done. I am not asking to avoid consequences. I am
  asking for the opportunity to continue growing and making things right. Being able to remain in
  the community would allow me to continue supporting those who rely on me, to pay restitution,
  and to serve populations in need. My absence would leave a hole in the lives of many people
  who count on me for more than just basic support, it would remove an outlet for care, for
  stability, and for healing.

  I hope that Your Honor can see me not as the person I was at the time of my crime, but as the
  person I am today. Someone who is remorseful, changed, and committed to doing good. I want
  to be a pillar in my community. I want to continue this journey of accountability, service, and
  growth. Thank you for your time and consideration.

  Respectfully,
  Brock Fischer
